                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


CELGENE CORPORATION,

                    Plaintiff,

      v.
                                                            COMPLAINT
SYNTHON PHARMACEUTICALS                              Civil Action No: 1:18cv0540
INC., SYNTHON B.V., SYNTHON
S.R.O., and ALVOGEN PINE BROOK,
LLC.

                    Defendants.




      Plaintiff Celgene Corporation (“Celgene”), by its undersigned attorneys, for its

Complaint against defendants Synthon Pharmaceuticals Inc. (“Synthon Pharmaceuticals”),

Synthon B.V. (“Synthon B.V.”), Synthon s.r.o. (“Synthon s.r.o.,” together with Synthon

Pharmaceuticals and Synthon B.V., “Synthon”) and Alvogen Pine Brook, LLC.

(“Alvogen”) (collectively, “Defendants”) alleges as follows:

                                  Nature of the Action

      1.       This is an action for patent infringement under the patent laws of the

United States, 35 U.S.C. §100, et seq., arising from the filing of Abbreviated New Drug

Application (“ANDA”), No. 210232, with the United States Food and Drug

Administration (“FDA”) seeking approval to commercially market generic versions of

Celgene’s POMALYST® drug products prior to the expiration of United States Patent Nos.

8,198,262 (the “’262 patent”), 8,673,939 (the “’939 patent”), 8,735,428 (the “’428




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patent”), and 8,828,427 (the “’427 patent”), all owned by Celgene (collectively, “the

patents-in-suit”).

                                        The Parties

       2.        Plaintiff Celgene is a biopharmaceutical company committed to

improving the lives of patients worldwide. Celgene focuses on, and invests heavily in,

the discovery and development of products for the treatment of severe and life-

threatening conditions. Celgene is a world leader in the treatment of many such diseases,

including cancer. Celgene is a corporation organized and existing under the laws of the

State of Delaware, having a principal place of business at 86 Morris Avenue, Summit,

New Jersey 07901.

       3.        On information and belief, Synthon Pharmaceuticals is a North Carolina

 corporation, having a principal place of business at 1007 Slater Road, Suite 150

 Durham, North Carolina 27703.

       4.        On information and belief, Synthon B.V. is a corporation organized and

 existing under the laws of the Netherlands, having a principal place of business at

 Microweg 22, P.O. Box 7071, 6503 CM Nijmegen, the Netherlands.

       5.        On information and belief, Synthon s.r.o. is a Czech Republic entity

 having a principal place of business at Brnenska 32/cp. 597, 678 01 Blansko, Czech

 Republic.

         6.      On information and belief, Alvogen is a Delaware corporation, having a

 principal place of business at 10B Bloomfield Avenue, Pine Brook, New Jersey 07058.


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                                  The Patents-in-Suit

      7.       On June 12, 2012, the United States Patent and Trademark Office

(“USPTO”) duly and lawfully issued the ’262 patent, entitled, “Methods for treating

multiple myeloma using 4-(amino)-2-(2,6-dioxo(3-piperidyl))-isoindoline-1,3-dione,” to

Celgene as assignee of the inventor Jerome B. Zeldis. A copy of the ’262 patent is

attached hereto as Exhibit A.

      8.       On March 18, 2014, the USPTO duly and lawfully issued the ’939 patent,

 entitled, “Methods for treating multiple myeloma with 4-(amino)-2-(2,6-dioxo(3-

 piperidyl))-isoindoline-1,3-dione,” to Celgene as assignee of the inventor Jerome B.

 Zeldis. A copy of the ’939 patent is attached hereto as Exhibit B.

      9.       On May 27, 2014, the USPTO duly and lawfully issued the ’428 patent,

 entitled, “Methods for treating multiple myeloma with 4-(amino)-2-(2,6-dioxo(3-

 piperidyl))-isoindoline-1,3-dione,” to Celgene as assignee of the inventor Jerome B.

 Zeldis. A copy of the ’428 patent is attached hereto as Exhibit C.

      10.      On September 9, 2014, the USPTO duly and lawfully issued the ’427

 patent, entitled, “Formulations of 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-

 dione,” to Celgene as assignee of the inventors Anthony Tutino and Michael T. Kelly.

 A copy of the ’427 patent is attached hereto as Exhibit D.

                            The POMALYST® Drug Product

      11.      Celgene holds an approved New Drug Application (“NDA”) under

Section 505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. §



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355(a), for pomalidomide capsules (NDA No. 204026), which it sells under the trade

name POMALYST®. POMALYST® is an FDA-approved medication used for the treatment

of multiple myeloma.

      12.       The claims of the patents-in-suit cover, inter alia, methods of use and

administration of pomalidomide, or pharmaceutical compositions containing

pomalidomide.

      13.       Pursuant to 21 U.S.C. § 355(b)(1) and attendant FDA regulations, the

patents-in-suit are listed in the FDA publication, “Approved Drug Products with

Therapeutic Equivalence Evaluations” (the “Orange Book”), with respect to POMALYST®.

      14.       The labeling for POMALYST® instructs and encourages physicians,

pharmacists, and other healthcare workers and patients to administer POMALYST®

according to one or more of the methods claimed in the patents-in-suit.

                                 Jurisdiction and Venue

      15.       This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.

      16.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391

 and/or 1400(b).

                                       A. Synthon

        17.     This Court has personal jurisdiction over Synthon Pharmaceuticals by

 virtue of, inter alia, its systematic and continuous contacts with the State of North

 Carolina. On information and belief, Synthon Pharmaceuticals Inc. is registered with



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the State of North Carolina under SosId No. 1128782. On information and belief,

Synthon Pharmaceuticals has purposefully conducted and continues to conduct business

in this Judicial District, and has purposefully availed itself of the privilege of doing

business in North Carolina.

       18.    On information and belief, Synthon Pharmaceuticals is in the business of,

among other things, manufacturing, marketing, importing, offering for sale, and selling

pharmaceutical products, including generic drug products, throughout the United States,

including in this Judicial District. On information and belief, this Judicial District will

be a destination for the generic drug product described in ANDA No. 210232. On

information and belief, Synthon Pharmaceuticals prepares and/or aids in the preparation

and submission of ANDAs to the FDA.

       19.    On information and belief, Synthon B.V. is in the business of, among

other things, manufacturing, marketing, importing, offering for sale, and selling

pharmaceutical products, including generic drug products, throughout the United States,

including in this Judicial District. On information and belief, this Judicial District will

be a destination for the generic drug product described in ANDA No. 210232. On

information and belief, Synthon B.V. prepares and/or aids in the preparation and

submission of ANDAs to the FDA.

       20.    On information and belief, Synthon s.r.o is in the business of, among

other things, manufacturing, marketing, importing, offering for sale, and selling

pharmaceutical products, including generic drug products, throughout the United States,


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including in this Judicial District. On information and belief, this Judicial District will

be a destination for the generic drug product described in ANDA No. 210232. On

information and belief, Synthon s.r.o. prepares and/or aids in the preparation and

submission of ANDAs to the FDA.

       21.    On information and belief, Synthon Pharmaceuticals maintains extensive

and systematic contacts with pharmaceutical retailers, wholesalers, and/or distributors

in North Carolina providing for the distribution of Synthon’s products in the State of

North Carolina, including in this Judicial District.

       22.    On information and belief, Synthon regularly and continuously transacts

business within North Carolina, including by making pharmaceutical products for sale

in North Carolina and selling pharmaceutical products in North Carolina, including in

this Judicial District. On information and belief, Synthon derives substantial revenue

from the sale of those products in North Carolina, including in this Judicial District.

       23.    This Court has personal jurisdiction over Synthon B.V. and/or Synthon

s.r.o. because, inter alia, they: (1) have purposefully availed themselves of the privilege

of doing business in North Carolina, including directly or indirectly through their

subsidiary, agent, and/or alter ego, Synthon Pharmaceuticals, a company registered with

the State of North Carolina; and (2) maintain extensive and systematic contacts with the

State of North Carolina, including the marketing, distribution, and/or sale of generic

pharmaceutical drugs in North Carolina, including in this Judicial District, including

through, directly or indirectly, Synthon Pharmaceuticals.


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       24.    On information and belief, Synthon Pharmaceuticals acts at the direction,

and for the benefit, of Synthon B.V. and/or Synthon s.r.o.

       25.    On information and belief, Synthon Pharmaceuticals, Synthon B.V., and

Synthon s.r.o. are members of the same corporate family.

       26.    On information and belief, Synthon Pharmaceuticals, Synthon B.V., and

Synthon s.r.o. work in concert with respect to the regulatory approval, manufacturing,

importation, marketing, sale, and distribution of generic pharmaceutical products

throughout the United States, including in this Judicial District.

       27.    On information and belief, Synthon Pharmaceuticals Inc., Synthon B.V.,

and/or Synthon s.r.o. have partnered with Alvogen in the submission of ANDA No.

210232 and will continue to partner with Alvogen towards the regulatory approval,

manufacturing, use, importation, marketing, sale, offer for sale, and distribution of

generic pharmaceutical products, including Synthon’s Proposed Products, throughout

the United States, including in North Carolina (including this Judicial District), prior to

the expiration of the patents-in-suit.

       28.    This Court has personal jurisdiction over Synthon because, inter alia, it

has committed an act of patent infringement under 35 U.S.C. § 271(e)(2). On

information and belief, Synthon submitted ANDA No. 210232 from this Judicial

District. On information and belief, Synthon intends a future course of conduct that

includes acts of patent infringement in North Carolina, including in this Judicial




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District. These acts have led and will continue to lead to foreseeable harm and injury to

Celgene in North Carolina and in this Judicial District.

       29.    In the alternative, this Court has personal jurisdiction over Synthon B.V.

because the requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a)

Celgene’s claims arise under federal law; (b) Synthon B.V. is a foreign defendant not

subject to general personal jurisdiction in the courts of any state; and (c) Synthon B.V.

has sufficient contacts with the United States as a whole, including, but not limited to,

preparing and submitting ANDAs to the FDA and/or manufacturing, importing,

offering to sell, and/or selling pharmaceutical products that are distributed throughout

the United States, such that this Court’s exercise of jurisdiction over Synthon B.V.

satisfies due process.

       30.    In the alternative, this Court has personal jurisdiction over Synthon s.r.o.

because the requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a)

Celgene’s claims arise under federal law; (b) Synthon s.r.o. is a foreign defendant not

subject to general personal jurisdiction in the courts of any state; and (c) Synthon s.r.o.

has sufficient contacts with the United States as a whole, including, but not limited to,

preparing and submitting ANDAs to the FDA and/or manufacturing, importing,

offering to sell, and/or selling pharmaceutical products that are distributed throughout

the United States, such that this Court’s exercise of jurisdiction over Synthon s.r.o.

satisfies due process.




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                                        B. Alvogen

       31.     This Court has personal jurisdiction over Alvogen by virtue of, inter alia,

its systematic and continuous contacts with the State of North Carolina. On

information and belief, Alvogen is in the business of, among other things,

manufacturing, marketing, offering for sale, selling, and importing pharmaceutical

products, including generic drug products, throughout the United States, including in

this Judicial District. On information and belief, Alvogen, as Alvogen, Inc., is

registered to do business in the State of North Carolina under SosId No. 1289924. On

information and belief, Alvogen has conducted and continues to conduct business in

this Judicial District, including the purposeful sale and distribution of drug products.

       32.     This Court has personal jurisdiction over Alvogen because, inter alia, it

has purposefully availed itself of the privilege of doing business in North Carolina.

       33.     On information and belief, Alvogen derives substantial revenue from the

sale of generic pharmaceutical products and/or active pharmaceutical ingredient(s)

(“API”) used in various generic pharmaceutical products sold throughout the United

States, including in this Judicial District.

       34.     On information and belief, Defendants work in concert with respect to the

regulatory approval, manufacturing, marketing, sale, and distribution of generic

pharmaceutical products and/or API throughout the United States, including in this

Judicial District.




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        35.     On information and belief, Alvogen partnered with Synthon and

 participated in the preparation and/or filing of ANDA No. 210232. On information and

 belief, Alvogen and will continue to partner with Synthon towards the regulatory

 approval, manufacturing, use, importation, marketing, sale, offer for sale, and

 distribution of generic pharmaceutical products, including Synthon’s Proposed

 Products, throughout the United States, including in North Carolina, including in this

 Judicial District, prior to the expiration of the patents-in-suit.

        36.     On information and belief, Alvogen serves as a United States marketing

 partner with respect to ANDA No. 210232.

        37.     This Court has personal jurisdiction over Alvogen because, inter alia, it

 has committed an act of patent infringement under 35 U.S.C. § 271(e)(2). On

 information and belief, Alvogen intends a future course of conduct that includes acts of

 patent infringement in North Carolina, including in this Judicial District. These acts

 have led and will continue to lead to foreseeable harm and injury to Celgene in North

 Carolina and in this Judicial District. This Judicial District is a likely destination for the

 generic drug product described in ANDA No. 210232. On information and belief,

 Alvogen intends to benefit from ANDA No. 210232 if ANDA No. 210232 is approved.

                              Acts Giving Rise To This Suit

      38.       Pursuant to Section 505 of the FFDCA, Defendants submitted ANDA No.

210232 seeking approval to engage in the commercial manufacture, use, offer for sale,




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sale, or importation into the United States of pomalidomide capsules 1 mg, 2 mg, 3 mg,

and 4 mg (“Synthon’s Proposed Products”), before the patents-in-suit expire.

       39.       On information and belief, following FDA approval of ANDA No.

210232, Defendants Synthon and Alvogen will work in concert with one another to

make, use, offer to sell, or sell Synthon’s Proposed Products throughout the United

States, or import such generic products into the United States.

       40.       On information and belief, in connection with the filing of ANDA No.

210232 as described above, Synthon provided a written certification to the FDA, as

called for by Section 505 of the FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Synthon’s

Paragraph IV Certification”), alleging that the claims of the patents-in-suit are invalid,

unenforceable, and/or will not be infringed by the activities described in ANDA No.

210232.

       41.       No earlier than May 4, 2018, Synthon sent written notice of its Paragraph

IV Certification to Celgene (“Synthon’s Notice Letter”). Synthon’s Notice Letter alleged

that the claims of the patents-in-suit are invalid and/or will not be infringed by the

activities described in ANDA No. 210232. Synthon’s Notice Letter also informed

Celgene that Synthon seeks approval to market Synthon’s Proposed Products before the

patents-in-suit expire.

                          Count I: Infringement of the ’262 Patent

       42.       Celgene repeats and realleges the allegations of the preceding paragraphs

as if fully set forth herein.


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       43.      Defendants’ submission of ANDA No. 210232 to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s Proposed Products, prior to the expiration of the ’262 patent, constitutes

infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       44.      There is a justiciable controversy between Celgene and Defendants as to

the infringement of the ’262 patent.

       45.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will infringe one or more claims of the ’262 patent under 35 U.S.C.

§ 271(a) by making, using, offering to sell, selling, and/or importing Synthon’s Proposed

Products in the United States.

       46.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will induce infringement of one or more claims of the ’262 patent

under 35 U.S.C. § 271(b) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief, upon FDA

approval of ANDA No. 210232, Defendants will intentionally encourage acts of direct

infringement with knowledge of the ’262 patent and knowledge that its acts are

encouraging infringement.

       47.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will contributorily infringe one or more claims of the ’262 patent

under 35 U.S.C. § 271(c) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief,


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Defendants have had and continue to have knowledge that Synthon’s Proposed Products

are especially adapted for a use that infringes one or more claims of the ’262 patent and

that there is no substantial non-infringing use for Synthon’s Proposed Products.

       48.       Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’262 patent is not enjoined.

       49.       Celgene does not have an adequate remedy at law.

       50.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                         Count II: Infringement of the ’939 Patent

       51.       Celgene repeats and realleges the allegations of the preceding paragraphs

as if fully set forth herein.

       52.       Defendants’ submission of ANDA No. 210232 to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s Proposed Products, prior to the expiration of the ’939 patent, constitutes

infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       53.       There is a justiciable controversy between Celgene and Defendants as to

the infringement of the ’939 patent.

       54.       Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will infringe one or more claims of the ’939 patent under 35 U.S.C.

§ 271(a) by making, using, offering to sell, selling, and/or importing Synthon’s Proposed

Products in the United States.


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       55.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will induce infringement of one or more claims of the ’939 patent

under 35 U.S.C. § 271(b) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief, upon FDA

approval of ANDA No. 210232, Defendants will intentionally encourage acts of direct

infringement with knowledge of the ’939 patent and knowledge that its acts are

encouraging infringement.

       56.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will contributorily infringe one or more claims of the ’939 patent

under 35 U.S.C. § 271(c) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief,

Defendants have had and continue to have knowledge that Synthon’s Proposed Products

are especially adapted for a use that infringes one or more claims of the ’939 patent and

that there is no substantial non-infringing use for Synthon’s Proposed Products.

       57.      Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’939 patent is not enjoined.

       58.      Celgene does not have an adequate remedy at law.

       59.      This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.




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                        Count III: Infringement of the ’428 Patent

       60.       Celgene repeats and realleges the allegations of the preceding paragraphs

as if fully set forth herein.

       61.       Defendants’ submission of ANDA No. 210232 to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s Proposed Products, prior to the expiration of the ’428 patent, constitutes

infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       62.       There is a justiciable controversy between Celgene and Defendants as to

the infringement of the ’428 patent.

       63.       Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will infringe one or more claims of the ’428 patent under 35 U.S.C.

§ 271(a) by making, using, offering to sell, selling, and/or importing Synthon’s Proposed

Products in the United States.

       64.       Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will induce infringement of one or more claims of the ’428 patent

under 35 U.S.C. § 271(b) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief, upon FDA

approval of ANDA No. 210232, Defendants will intentionally encourage acts of direct

infringement with knowledge of the ’428 patent and knowledge that its acts are

encouraging infringement.




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       65.       Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will contributorily infringe one or more claims of the ’428 patent

under 35 U.S.C. § 271(c) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief,

Defendants have had and continue to have knowledge that Synthon’s Proposed Products

are especially adapted for a use that infringes one or more claims of the ’428 patent and

that there is no substantial non-infringing use for Synthon’s Proposed Products.

       66.       Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’428 patent is not enjoined.

       67.       Celgene does not have an adequate remedy at law.

       68.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                         Count IV: Infringement of the ’427 Patent

       69.       Celgene repeats and realleges the allegations of the preceding paragraphs

as if fully set forth herein.

       70.       Defendants’ submission of ANDA No. 210232 to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s Proposed Products, prior to the expiration of the ’427 patent, constitutes

infringement of one or more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       71.       There is a justiciable controversy between Celgene and Defendants as to

the infringement of the ’427 patent.


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       72.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will infringe one or more claims of the ’427 patent under 35 U.S.C.

§ 271(a) by making, using, offering to sell, selling, and/or importing Synthon’s Proposed

Products in the United States.

       73.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will induce infringement of one or more claims of the ’427 patent

under 35 U.S.C. § 271(b) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief, upon FDA

approval of ANDA No. 210232, Defendants will intentionally encourage acts of direct

infringement with knowledge of the ’427 patent and knowledge that its acts are

encouraging infringement.

       74.      Unless enjoined by this Court, upon FDA approval of ANDA No.

210232, Defendants will contributorily infringe one or more claims of the ’427 patent

under 35 U.S.C. § 271(c) by making, using, offering to sell, selling, and/or importing

Synthon’s Proposed Products in the United States. On information and belief,

Defendants have had and continue to have knowledge that Synthon’s Proposed Products

are especially adapted for a use that infringes one or more claims of the ’427 patent and

that there is no substantial non-infringing use for Synthon’s Proposed Products.

       75.      Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’427 patent is not enjoined.

       76.      Celgene does not have an adequate remedy at law.


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       77.      This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Celgene respectfully requests the following relief:

       (A)     A Judgment that Defendants have infringed the patents-in-suit by

submitting ANDA No. 210232;

       (B)     A Judgment that Defendants have infringed, and that Defendants’ making,

using, offering to sell, selling, or importing Synthon’s Proposed Products will infringe

one or more claims of the patents-in-suit;

       (C)     An Order that the effective date of FDA approval of ANDA No. 210232 be

a date which is not earlier than the later of the expiration of the patents-in-suit, or any

later expiration of exclusivity to which Celgene is or becomes entitled;

       (D)     Preliminary and permanent injunctions enjoining Defendants and their

officers, agents, attorneys and employees, and those acting in privity or concert with

them, from making, using, offering to sell, selling, or importing Synthon’s Proposed

Products until after the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

       (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining

and enjoining Defendants, their officers, agents, attorneys and employees, and those

acting in privity or concert with them, from practicing any methods of use and

administration of pomalidomide, or pharmaceutical compositions containing



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pomalidomide, as claimed in the patents-in-suit, or from actively inducing or contributing

to the infringement of any claim of the patents-in-suit, until after the expiration of the

patents-in-suit, or any later expiration of exclusivity to which Celgene is or becomes

entitled;

        (F)     A Judgment that the commercial manufacture, use, offer for sale, sale,

and/or importation into the United States of Synthon’s Proposed Products will directly

infringe, induce and/or contribute to infringement of the patents-in-suit;

        (G)     To the extent that Defendants have committed any acts with respect to the

methods of use and administration of pomalidomide, or pharmaceutical compositions

containing pomalidomide, claimed in the patents-in-suit, other than those acts expressly

exempted by 35 U.S.C. § 271(e)(1), a Judgment awarding Celgene damages for such

acts;

        (H)     If Defendants engage in the commercial manufacture, use, offer for sale,

sale, and/or importation into the United States of Synthon’s Proposed Products prior to

the expiration of the patents-in-suit, a Judgment awarding damages to Celgene resulting

from such infringement, together with interest;

        (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

        (J)     A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

awarding Celgene its attorneys’ fees incurred in this action;

        (K)     A Judgment awarding Celgene its costs and expenses incurred in this

action; and


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      (L)     Such further and other relief as this Court may deem just and proper.

Dated: June 21, 2018                               Respectfully submitted,

                                                   /s/ John D. Wooten IV
                                                   John D. Wooten IV (State Bar # 51074)
                                                   WOMBLE BOND DICKINSON (US) LLP
                                                   One West Fourth Street
                                                   Winston-Salem, NC 27101
                                                   Telephone: (336) 574-8090
                                                   Facsimile: (336) 574-4524
                                                   jd.wooten@wbd-us.com

                                                   Of Counsel:
                                                   F. Dominic Cerrito
                                                   Eric C. Stops
                                                   Andrew S. Chalson
                                                   QUINN EMANUEL URQUHART &
                                                   SULLIVAN, LLP
                                                   51 Madison Avenue, 22nd Floor
                                                   New York, New York 10010
                                                   (212) 849-7000

                                                   Anthony M. Insogna
                                                   Cary Miller, Ph.D.
                                                   JONES DAY
                                                   4655 Executive Drive, Suite 1500
                                                   San Diego, CA 92121
                                                   (858) 314-1200

                                                   Attorneys for Plaintiff
                                                   Celgene Corporation




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